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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Kimberly Karol Rowell
                                 Plaintiff,
v.                                                    Case No.: 1:17−cv−05546
                                                      Honorable Edmond E. Chang
Medicredit, Inc.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, December 11, 2017:


       MINUTE entry before the Honorable Edmond E. Chang: Pursuant to the stipulated
dismissal, under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the case is dismissed
with prejudice, each side to bear its own fees and costs. Status hearing of 12/21/2017 is
vacated. Civil case terminated. Emailed notice(slb, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
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